Case 2:20-cr-00494-SDW Document 15 Filed 08/02/21 Page 1 of 5 PagelD: 44

pip? THE LAW FIRM OF Ap?

FL HUNT, HAMLIN & RIDLEY nS

 

 

COUNSELLORS ATLAW

FOUNDING PARTNERS OF COUNSEL

RONALD C. HUNT
RAY MONDT HAMEI NEWARK OFFICE PATERSON OFFICE NORLLE VAR HEAaEN

MILITARY PARK BUILDING 418 GRAND STREET ISAAC WRIGHT
TERRY RIDLEY 60 PARK PLACE, 16™ FLOOR PATERSON, NJ 07505
1956-2012 NEWARK, NJ 07102
ALL REPLIES TO THE NEWARK OFFICE +AL SO ADMERPTRDINTY
ASSOCIATE COUNSEL

SHIRLEY MORENO

EMEKA MADUBUOGO TEL: (973) 242-4471

TELEFAX:(973) 242-8295

E-MAIL: emeka.madubuogo@HuntHanilinRidley.com
WEB SITE: www.HuntHamlinRidley.com

August 2, 2021

VIA ECOURTS:

Hon. Susan D. Wigenton, U.S.M.J

United State District Court, District of New Jersey
50 Walnut Street, RM 4015

Newark, New Jersey 07102

Re: United States v. Samora Patterson
Crim. No. 2:20-cr-494-SDW

Dear Judge Wigenton,

As you know, this law firm represents Mr. Samora Patterson
the (“Defendant”) in the above-referenced matter. This letter is
written on behalf of the Defendant who respectfully requests an
adjustment to his current conditions and pre-trial release,
specifically the Defendant request a curfew from Monday to
Sunday. The Court authorizes satellite tracking outside of his
residence to track his movements so the Court may grant the
curfew.

We believe that under certain circumstance, this Court
should would be able to monitor the Defendant’s conditional
release and curfew, and reasonably assure the appearance of the
Defendant as required and the safety of any other persons in the
community. The Defendant has been on house arrest since 2019,
while he awaits the pending matter in this case. Since being
placed on electric monitoring, the Defendant believes he has
been compliant considering the long-standing term of his home
confinement.

Established in 1995
Case 2:20-cr-00494-SDW Document 15 Filed 08/02/21 Page 2 of 5 PagelD: 45

The Defendant has been subjected to home confinement for
several years, and should be permitted a lesser restrictive
condition, which includes a curfew. We recognize that Mr.
Paterson, in the past has violated the conditions of his
release, however we submit the length of the home confinement
though preferable than to incarnation has often caused Mr.
Patterson severe problems under his current terms. Looking at
this case, the Defendant does not pose any threat to the
citizens of New Jersey, nor the public at large. He is currently
on electric monitoring, has two children, and all his immediate
family are in the state of New Jersey. The Defendant
wholeheartedly intends to fight the charges against him.
Therefore, he is not a flight risk under these circumstances.

Specifically, the curfew hours would be approved by
pretrial services and GPS technology, and the Defendant will
full comply with any conditions the Court and all parties
involve see fit. Hence the Defendant, hereby assures and agrees,
not to:

. Commit any further crimes while outside the home;

- Not to use or possess any illegal narcotics;

- Not to leave the state without prior consent;

- Not to associate with criminals;

- Not to tamper with the electric monitoring device;

- Not to remove, damage, or compromise the electric

monitoring device;

7. Deceive, lie, or defraud the courts, supervisors, and
the State regarding his location;

8. Stay out past his curfew;

9. Injure or harm another person;

10. Assist anyone in the commission of a crime; or

ll. Obstruct justice, or tamper with any evidence.

NOB WNEHE

In addition, prior to the filing of this letter, the
undersigned attorney communicated with AUSA, Sean Sherman, Esq.,
and Pretrial services, and both parties' consent to the curfew,
as long as Mr. Patterson agrees to follow the term provided by
Pretrial services and Court Order. Hence, all parties involved
consent and agree.

Therefore, we ask this Court to grant the Defendant’s
application to modify his pretrial release and permit a curfew
with location monitoring and GPS tracking.

Established in 1995
Case 2:20-cr-00494-SDW

Document 15 Filed 08/02/21 Page 3 of 5 PagelD: 46

HUNT, HAMLIN & RIDLEY
Attorney for Defendant

RONALD C. HUNT /S/
RONALD C. HUNT, ESQ.

Established in 1995
Case 2:20-cr-00494-SDW Document 15 Filed 08/02/21 Page 4 of 5 PagelD: 47

Ronald C. Hunt, Esq.

Attorney I.D. Number: 011281985
Hunt, Hamlin & Ridley

Military Park Building

60 Park Place, 16th Floor
Newark, NJ 07102

(973) 242-4471 - Phone

(973) 242-8295 - Fax

Attorney for Defendant

Samora Patterson

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA, : CRIMINAL DOCKET

Plaintiffs, : Case No. 2:20-cr-494-SDW
vs. :
ORDER PERMITTING LESSOR RESTRICTIONS
: AND AN ASSIGNED CURFEW FOR THE
SAMORA PATTERSON : DEFENDANT

Defendant.

 

THIS MATTER, having been opened to the Court, after
obtaining consent from all Parties involved, the application of
Ronald C. Hunt, Esquire, of the Law Offices of Hunt, Hamlin &
Ridley, Esquires, attorneys for the Defendant, SAMORA PATTERSON,
to be assigned a curfew Monday to Sunday, from a reasonable time
deemed appropriate by pretrial services, the Defendant will
continue to be electronically monitored, and with good cause

having been shown;
IT IS on this _ day of August, 2021;

ORDERED, that Mr. Patterson is granted a curfew, and is
allowed to leave home confinement, Monday to Sunday, starting,
on August , 2021, where he will continue to be monitored
electronically with GPS technology, 24 hours of the day,
Case 2:20-cr-00494-SDW Document 15 Filed 08/02/21 Page 5 of 5 PagelD: 48

IT IS FURTHER ORDERED that the Defendant’s location
monitoring conditions shall be modified to location monitoring
with a curfew, hours approved by pretrial services and gps
technology.

IT IS FURTHER ORDERED that the Defendant hereby assures and
agrees, not to:

- Commit any further crimes while outside the home;
. Not to use or possess any illegal narcotics;

. Not to leave the state without prior consent;

. Not to associate with criminals;

- Not to tamper with the electric monitoring device;
Not to remove, damage, or compromise the electric

NOB WN

monitoring device;
7. Deceive, lie, or defraud the courts, his
supervisors, and the State regarding his location;
8. Stay out past his curfew;
9. Injure or harm another person;
10. Assist anyone in the commission of a crime; or
11. Obstruct justice, or tamper with any evidence.

In the event the Defendant does violate any of these
conditions, the Defendant may be remanded back to State custody.
A copy of this order shall be deemed served upon all Counsel
ECF.

 

Hon. Susan D. Wigenton, U.S.M.J

Opposed

Unopposed
